          Case 1:21-cr-00106-TJK Document 13 Filed 03/31/21 Page 1 of 18




                 IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,
                                           Cause No. 21-CR-00106-TJK
              Plaintiff,
                                           JOSHUA HUGHES’
v.                                         MOTION TO AMEND ORDER
                                           OF DETENTION AND FOR
JOSHUA CALVIN HUGHES,                      PRETRIAL RELEASE
JEROD WADE HUGHES,

              Defendants.


      Pursuant to 18 U.S.C. § 3145(b) the Defendant JOSHUA CALVIN

HUGHES, hereby moves the Court to amend the Magistrate Judge’s order of

detention, and to amend it with an order allowing his conditional pretrial

release.1 This motion is made for the reason that he is not a flight risk nor a

danger to any person or to the community.

                                  THE FACTS

      Joshua and Jerod Hughes were charged by complaint filed on January

28, 2021, with the following offenses:


      1
        The Undersigned is a Montana attorney whose application for
admission to the District Court for the District of Columbia is pending with
the Clerk of Court. The Undersigned has been appointed to represent
Defendant Joshua Hughes pursuant to the Criminal Justice Act.
          Case 1:21-cr-00106-TJK Document 13 Filed 03/31/21 Page 2 of 18




      •        18 U.S.C. § 1512(c)(2) - Obstruction of an Official Proceeding;

      •        18 U.S.C. § 231(a)(3) - Obstruct/Impede/Interfere with Law

               Enforcement during a Civil Disorder;

      •        18 U.S.C. § 1752(a)(1) - Knowingly Enter or Remain in Restricted

               Building Without Authorization;

      •        18 U.S.C. § 1752(a)(2) - Knowingly Disrupt Government Business

               or Official Function;

      •        40 U.S.C. § 5104(e)(2)(A) - Enter or Remain in Capitol Building

               Without Authorization;

      •        40 U.S.C. § 5104(e)(2)(C) - Enter Capitol Building with the Intent

               to Disrupt Official Business;

      •        40 U.S.C. § 5104(e)(2)(G) - Parade, Demonstrate, or Picket in a

               Capitol Building;

      •        40 U.S.C. § 5104(e)(2)(C) - Enter Capitol Building with the Intent

               to Disrupt Official Business;

      •        40 U.S.C. § 5104(e)(2)(G) - Parade, Demonstrate, or Picket in a

               Capitol Building;

      •        18 U.S.C. § 1361 - Destruction of Property; and

      •        18 U.S.C. § 2 - Aiding and Abetting.

See, Doc. 1.


                                          2
          Case 1:21-cr-00106-TJK Document 13 Filed 03/31/21 Page 3 of 18



      On February 1, 2021, a transfer and detention hearing was held before

United States Magistrate Judge John Johnston in the District of Montana in

which the following evidence was presented:2

                                  Background

      Joshua Hughes is 37 years old. His brother and co-defendant, Jerod

Hughes, is 36. The two live in East Helena, Montana, and have a great

relationship with each other. They have lived in Helena, Montana, more than

30 years. Josh suffers from necrosis of the scaphoid bone in his wrist. Jerod

suffers from irritable bowel syndrome which causes stomach pain. All of their

immediate family, which is very tight-knit, lives in the Helena, Montana,

area, including their parents, three brothers and a sister, and Jerod’s wife

and children. Jerod’s wife, Catherine, suffers from debilitating interstitial

cystitis. She is disabled and Jerod is her sole caregiver. Jerod is employed

full-time by Valley Metal Building as a steel worker erecting metal buildings.

He supports and provides for his family, takes care of Catherine at home, and

does all of the shopping. Trans., 12;13 to 16:11.

      Josh is self-employed and provides residential and commercial cleaning

services for different businesses like real estate and construction companies.

He also helps with his brother’s store, Devout Nutrition, and is a personal


      2
          See Attachment A.

                                        3
       Case 1:21-cr-00106-TJK Document 13 Filed 03/31/21 Page 4 of 18



trainer. Id., 16:14-22.

      Both Jerod and Josh have the financial resources to make it to

Washington, D.C. for any court appearances. If released pending trial, Josh

would buy plane tickets whenever he needed to and show up wherever he

needed to. Id., 16:23 to 17:5.

      In terms of criminal history, Josh has a misdemeanor theft conviction

that occurred about nineteen years ago when he was around 18 or 19 years

old. Neither Josh nor Jerod were under a probationary sentence or on parole

on January 6, 2021, when the events charged in the Indictment occurred. Id.,

17:11-24.

      Josh does not have any drug or alcohol issues. He has had a medical

marijuana card for years to deal with pain from the necrotic scaphoid bone in

his wrist. On some days the pain is so bad that he can’t use his wrist. His

doctors recommended the medical marijuana card to treat his wrist pain. If

he were released, Josh would turn in his medical marijuana card and not use

marijuana during the pendency of this case. Id., 17:25 to 20:1.

                                 Self-Surrender

      The events charged in the Indictment occurred on January 6, 2021. On

Monday, January 11, 2021, Josh and Jerod found out by watching the news

on television that they were persons of interest. They wanted to clear that


                                       4
         Case 1:21-cr-00106-TJK Document 13 Filed 03/31/21 Page 5 of 18



up, identify themselves to law enforcement, and be up-front and forthcoming

because it was the right thing to do. They have family members who were in

law enforcement and they weren’t trying to hide from anybody. They

therefore called the FBI hotline and waited on hold for 15 minutes. When

nobody answered, they went to the jail in Helena, Montana, and tried to self-

surrender. They were told that there was a new building for the Sheriff’s

Office and the Helena Police Department, so they walked downtown to that

building and identified themselves to a local detective. They then called the

FBI to confirm their identities and to confirm that they had self-surrendered.

They were met by an agent with the Federal Bureau of Investigation, Mark

Seyler, who confirmed their identities. Between January 11 and February 1,

2021, they worked and waited to hear back from authorities. Id., 20:12 to

23:3.

                                January 6, 2021

        Neither Josh nor Jerod have had any kind of association with political

groups of any kind. They are not politically active and had never gone to a

Trump rally, although they have gone to freedom of speech rallies. They did

support President Trump, however, and when the President called “all

patriots” to Washington, D.C. in his last week of public tweets, they decided

to go to attend President Trump’s rally and then go sightseeing and visit the


                                        5
        Case 1:21-cr-00106-TJK Document 13 Filed 03/31/21 Page 6 of 18



Lincoln Memorial. Neither one of them had ever been to Washington, D.C. or

the Capitol. They left Helena the night of January 3, 2021, at about 9:00 p.m.

and drove through the following day, January 4, 2021, to Tomah, Wisconsin,

where they spent the night. On January 5, 2021, they got up and drove to

Gaithersburg, Maryland, and spent the night there. On the morning of the

6th they drove to Washington, D.C. to attend the President’s rally. They

arrived about 11:30 a.m., parked, and found out where the rally was being

held. President Trump started his speech sometime between 12:00 and 1:00

o’clock, and it lasted about 30 to 40 minutes. Josh’s impression was that

President Trump had invited them to go to the Capitol for another rally, and

Trump said he was going to walk with them down Pennsylvania Avenue.

When Josh and Jerod saw that he wasn’t actually going to walk down

Pennsylvania Avenue, they stopped for lunch at a taco eatery. They sat

down, warmed up, ate some food, used the restroom, and then walked down to

the Capitol. Id., 23:4 to 26:25.

      Upon arrival at the Capitol they saw that the police had opened up

barricades to allow people up onto the Capitol lawn and steps. There were

tens of thousands of people. Tear gas was in the air and people were getting

sprayed with OC spray. Josh and Jerod worked their way up to the front of

the line to see what was going on. They stayed off to the side, not engaging


                                      6
        Case 1:21-cr-00106-TJK Document 13 Filed 03/31/21 Page 7 of 18



with any officers or anybody else. They did not intend to engage in any illegal

behavior and just came to see what was happening. Id., 27:1-22.

      They arrived at the back of the Capitol. They walked through the

crowd of people and joined the front line of people off to the side. Then they

walked up to the top of the steps area where the police had receded away

from the barricades. Some people off to the side started bashing in a window

with a riot shield and a two-by-four. They did not know who the people

bashing in the window were, had never seen them before, and did not talk to

them. Josh was very surprised and didn’t know what they were doing or why,

and just stood back and watched. The photographs that are in the

Government’s Statement of Facts (Doc. 1-1, p. 2) show Josh just standing

there watching the other people breaking the window. Josh did not provide

any assistance to the two individuals that were engaged in this behavior, nor

did he encourage them to do so. He was very surprised by what they were

doing. Id., 27:23 to 29:6.

      Josh entered the Capitol building after he watched people go into the

building. Josh saw Jerod go in and so Josh followed him, not wanting to be

separated. Doc. 1-1, pp. 2 and 3. Once inside he saw people moving towards

the police officers down the hall, and saw his brother kick open a door,

looking for Josh. So Josh went over and tapped him on the shoulder and


                                       7
          Case 1:21-cr-00106-TJK Document 13 Filed 03/31/21 Page 8 of 18



showed him that he was right there. Josh told Jerod that he was there and to

not do anything and to be peaceful. Id., 29:7-20; see also, Doc. 1-1, pp. 3 and

4.

      They then followed the mob. Josh walked around with his hands up the

whole time. If he encountered an officer, he just stood still with his hands

up. He never threatened any officer, although he knew that he wasn’t

supposed be there. The only reason he crawled through the window and

followed the mob in the first place was to keep an eye on his brother and

witness what was going on. He had heard people talking about wanting to do

like a sit-in and occupy the building, but he didn’t imagine they meant going

in the building. Josh thought they were going to be out on the steps. So

when he saw people breaking in the windows and then flowing into the

building, he followed them in. Trans., 29:22 to 30:24.

      Josh had no idea where he was or where he was going. He just followed

people that were walking around. He had not made a prior plan to engage in

any of the behavior that other people were doing while he was inside the

Capitol building. He was following a group of people walking around the

building, and they encountered an officer, Eugene Goodman,3 and he and



      3
         Josh was able to identify Officer Eugene Goodman from the accounts
of the incident that he saw on television.

                                        8
        Case 1:21-cr-00106-TJK Document 13 Filed 03/31/21 Page 9 of 18



Jerod stayed back because he was armed and had his gun out. He and Jerod

weren’t trying to engage with anybody. The group of people around them

followed the officer up the stairs. One man chased the officer, and they

followed behind, walking up the steps. Josh didn’t know who the man was

and had never seen him before. Josh did not assist him in chasing Officer

Goodman. He just walked up the steps behind him. By the time he made it

up to the upper landing, Josh looked down the hallway, and could see them

turning a corner. Id., 30:15 to 31:23; see also, Doc. 1-1, pp. 5 and 6.

      Josh and Jerod entered the Senate chamber as they were walking out of

the building. Somebody had kicked a door open off to his left, and they

walked through the doors not knowing or having any idea where they were

going. But once we walked in, Josh recognized the Senate floor. They were in

there only a few minutes. Doc. 1-1, pp. 7 and 8. They walked around and

looked at the building. One man jumped into a chair, and Jerod and Josh and

another gentleman told him to get out of the chair and to show some respect.

They told people not to mess with things. Once they saw people rifling

through stuff and desks and taking pictures and stuff, Josh told Jerod it was

time to go. They didn’t want to be associated with that, and so they walked

out of the building and left the Capitol grounds. They heard the police calling

out a 6:00 o’clock curfew, walked across town, and eventually found their car.


                                        9
       Case 1:21-cr-00106-TJK Document 13 Filed 03/31/21 Page 10 of 18



Josh was in such a state of shock at the time that he could barely use his

phone or orientate directions. Trans., 31:24 to 32:21.

      They were actually in the Capitol building a total of 10 or 15 minutes.

During that entire period of time, Josh just walked around with his hands up

the whole time. He did not take photographs and he never pulled out or used

his cell phone. Josh touched his glasses in one picture (Doc. 1-1, p. 4) because

they fogged up from the change of cold to hot in the building. The only reason

he was at the Capitol was because the President told them to go march to the

Capitol. The only reason he entered into the building was because he was

just following the group, and he thought they were going to be doing a

peaceful protest of just occupying and doing a sit-in. He was very surprised

at the events that occurred. He is not a member of any kind of subversive

group like the Oath Keepers or the Proud Boys. His position now is that they

were wrong for being there. He feels misled by the President and he deeply

regrets his actions there. Trans., 32:22 to 34:3.

      On January 6, 2021, Josh Hughes did not know that he had committed

a crime or what crime he might have committed, if any at all, other than,

maybe trespass. The only reason he followed the mob or the people into the

Capitol building was because he thought there was going to be a sit-in

protest. Id., 49:23 to 50:7.


                                       10
       Case 1:21-cr-00106-TJK Document 13 Filed 03/31/21 Page 11 of 18



      Magistrate Judge Johnston found that the Government had met its

burden of proving dangerousness by clear and convincing evidence. Josh

Hughes has been detained in a variety of facilities since February 1, 2021,

while being transported from the District of Montana to the District of

Columbia.

      The Indictment was filed on February 10, 2021. Doc. 3.

                                 ARGUMENT

      “In our society liberty is the norm, and detention prior to trial or

without trial is the carefully limited exception.” United States v. Salerno, 481

U.S. 739, 755 (1987). The Bail Reform Act of 1984 authorizes one of those

carefully limited exceptions by providing that the court “shall order” a

defendant detained before trial if it “finds that no condition or combination of

conditions will reasonably assure the appearance of the person as required

and the safety of any other person and the community.” 18 U.S.C. § 3142(e).

“In common parlance, the relevant inquiry is whether the defendant is a

‘flight risk’ or a ‘danger to the community.’ ” United States v.

Vasquez-Benitez, 919 F.3d 546, 550 (D.C. Cir. 2019).

      When assessing whether pretrial detention is warranted for

dangerousness, the court considers four statutory factors: (1) “the nature and

circumstances of the offense charged,” (2) “the weight of the evidence against


                                       11
       Case 1:21-cr-00106-TJK Document 13 Filed 03/31/21 Page 12 of 18



the person,” (3) “the history and characteristics of the person,” and (4) “the

nature and seriousness of the danger to any person or the community that

would be posed by the person’s release.” 18 U.S.C. § 3142(g)(1)–(4). To justify

detention on the basis of dangerousness, the government must prove by “clear

and convincing evidence” that “no condition or combination of conditions will

reasonably assure the safety of any other person and the community.” Id. §

3142(f). Thus, a defendant’s detention based on dangerousness accords with

due process only insofar as the district court determines that the defendant’s

history, characteristics, and alleged criminal conduct make clear that he

poses a concrete, prospective threat to public safety.

      The statute concerning review of a Magistrate Judge’s release order

says nothing about the standard of the district court’s review. 18 U.S.C. §

3145(a). Wood v. United States, 391 F.2d 981, 984 (D.C. Cir. 1968), however,

provides that “[e]valuating the competing considerations is a task for the

commissioner or judge in the first instance, and then the judges of the

District Court (where they have original jurisdiction over the offense) have a

broad discretion to amend the conditions imposed, or to grant release

outright, if they feel that the balance has been improperly struck.” When

exercising that broad discretion the District Court should apply de novo

review. See, LCrR 59.3(b); United States v. Chrestman, No. 21-mj-218 (ZMF),


                                       12
       Case 1:21-cr-00106-TJK Document 13 Filed 03/31/21 Page 13 of 18



2021 U.S. Dist. LEXIS 36117, fn. 5 (D.D.C. Feb. 26, 2021).

      Here, the Magistrate Judge concluded that the circumstances of the

charges involved a riot at the Capitol in what appears to be an illegal and

unlawful attempt to prevent the peaceful transition of power following an

election. Trans., 56:20 to 57:1. However, Josh Hughes testified only that he

attended the rally, together with tens of thousand of other people, in support

of the President.

      The Magistrate Judge further concluded that the defendants were

displeased with the results with the recent presidential election and took a

deliberate course of conduct meant to disrupt the peaceful transition of power

and intimidate our representatives and those charged with protecting them in

an attempt to defeat the word of the people as reflected by the results of the

election. The Magistrate Judge concluded that the defendants have little or

no regard for the rule of law and are willing to undertake extreme and illegal

manners and methods in an attempt to undermined the foundations of our

democracy. The course of conduct led the Court to conclude that the

defendants would show little or no regard to any condition or combinations he

could impose upon them if they were released from custody pending further

proceedings because they could be called to further action by someone they

admire. The Magistrate Judge then concluded that defendants, based upon


                                       13
          Case 1:21-cr-00106-TJK Document 13 Filed 03/31/21 Page 14 of 18



their recent course of conduct, were a serious danger to the community as

they have shown great resolve to damage and destruct our country if they

disagree with the results of an election. Id., 57:6 to 58:22.

      The Magistrate Judge’s conclusions were devoid of evidence to support

them. Beyond his simple attendance at the President’s rally, there was

absolutely no evidence presented that Joshua Hughes intended to disrupt the

peaceful transition of power and intimidate the representatives. Other than

his mere presence, there was no evidence that he intended or attempted to

prevent the peaceful transition of power following an election. The only

evidence presented was that he entered the building to see what was

happening inside and then followed the crowd. At worst, Josh Hughes

thought that there was going to be a peaceful sit-in protest. There is no

evidence that Josh Hughes had engaged in any prior planning of the events of

January 6, 2021, before his arrival at the Capitol. He did not come to

Washington, D.C. with the intention of causing mayhem and disrupting the

democratic process. He is not a member of any group and did not assemble

with any member of a group, but instead went to a taco eatery to get some

food and use the restroom before walking to the Capitol. He does not own a

firearm4 and was not armed with a weapon. The photos show that the only


      4
          Trans., 35:19, 20.

                                        14
       Case 1:21-cr-00106-TJK Document 13 Filed 03/31/21 Page 15 of 18



thing in his hand was a plastic water bottle. Doc. 1-1, pp. 7 and 8. He was

not clothed in tactical gear. He did not have a helmet, gas mask, or attempt

to obscure his identity. He did not destroy property. He did not threaten or

intimidate anybody or engage in violence. He did not photograph or record

anything. He further did not encourage, facilitate, or assist anybody else that

was engaged in illegal conduct. He did not act as a leader or engage in any

conspiratorial conduct. Instead, he unlawfully entered and remained in a

restricted area, merely wandering about the premises, not knowing exactly

where he was most of the time. His motivation for entering the building was

to avoid separation from his brother and to observe events as they transpired.

When, five days later, he discovered that he was a person of interest, he

promptly went to law enforcement and voluntarily self-identified to the FBI.

He later self-surrendered to the United States Marshal’s Service in Montana.

He has acknowledged that he was wrong for being there and exhibited

extreme remorse and regret for his actions at the Capitol. The factors of 18

U.S.C. § 3142(g)(1)-(4) simply do not justify detention on the basis of

dangerousness, and there are conditions or a combination of conditions will

reasonably assure the safety of other persons and the community. Id., §

3142(f).

//


                                       15
       Case 1:21-cr-00106-TJK Document 13 Filed 03/31/21 Page 16 of 18



                          CHARACTER LETTERS

      Attached hereto are character letters from friends of Joshua Hughes,

attesting to his good character. See, Attachment B.

                                CONCLUSION

      The Government will no doubt argue that Joshua Hughes placed

himself at the “tip of the spear” as rioters breached the Capitol on January 6,

2021, and actively destroyed government property, harassed and interfered

with Capitol Police officers, and obstructed Congress’s certification of the

Electoral College results. The fact of the matter is, however, that Joshua

Hughes actually engaged in none of that behavior. While he was admittedly

among the first to enter the Capitol building, he destroyed no property,

assaulted nobody, and encouraged or facilitated nobody. He was at the wrong

place at the wrong time, merely present, watching others engaged in the

conduct complained-of. When he realized the gravity of what was happening,

he found an exit and promptly left the premises in a dream-like state of shock

at the horrible nightmare he had just witnessed.

      Joshua Hughes therefore requests the Court to amend his order of

detention and to release him from custody, on conditions, pending trial.

//

//


                                       16
      Case 1:21-cr-00106-TJK Document 13 Filed 03/31/21 Page 17 of 18



     DATED this 31st day of March, 2021.




                             By: s/ Palmer Hoovestal
                                    Palmer A. Hoovestal, Esq.
                                    D.C. Bar No. (Pending)
                                    Hoovestal Law Firm, PLLC
                                    608 Lincoln Rd. West
                                    Helena, MT 59602
                                    P.O. Box 747
                                    Helena, MT 59624-0747
                                    Tel. (406) 457-0970
                                    Fax (406) 457-0475
                                    Email: palmer@hoovestal-law.com
                                    Attorney for Defendant
                                    JOSHUA CALVIN HUGHES

                      CERTIFICATE OF SERVICE
                              LCr 49.2

     I hereby certify that on March 31, 2021, a copy of the foregoing
document was served on the following persons by the following means:

1, 2, 3 CM-ECF

     Hand Delivery

     Mail

     Overnight Delivery Service

     Fax

 2, 3 E-Mail

1.   CLERK, UNITED STATES DISTRICT COURT

2.   JAMES NELSON

                                     17
      Case 1:21-cr-00106-TJK Document 13 Filed 03/31/21 Page 18 of 18



     Assistant United States Attorney
     Counsel for the United States of America
     james.nelson@usdoj.gov

3.   Jonathan Zucker
     Counsel for Jerod Hughes
     jonathanzuckerlaw@gmail.com




                                    18
